Case 1317-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 1 of 37

 

   

AO 108 (Rev. 06/09) Appllcation for a Warrant to Seize Property Subject to Forfeiture v
:*i?_§._ _:- _
UNITED STATES DISTRICT CoURT OCTZ 7 2017
for the mark U S D*
District of columbia Cnurrs' far lhe'i;t;;i§,!;§ g,a'¢';';',:fg§l;
ln the Matter ofthe Seizure of ) CaSeI 1$17~mj-OO783
(Briefly describe the property to be seized) ) ASSjgned TO _~ Howen B ery| A
Funds not to exceed $1,100,637 from bank account ) Assi n. Date ' v l
_ at The Federa| Savings Bank held ) DC,.§H non S 1~.0/26/2017
in the name of Paul Manafort, Jr. ) o p ' emma Wa"am

APPLICATION FOR A WARRANT
TO SEIZE PROPERTY SUBJECT TO FORFEITURE

I, a federal law enforcement officer or attorney for the government, request a seizure warrant and state under
penalty of perjury that I have reason to believe that the following property in the » Northem _District of

j|||inois is subject to forfeiture to the United States of America under _ 18 U.S.C. §

 

9811 982(3)(1) (describe the property)i

A sum of funds not to exceed $1.100,637 from bank- _ at The Federa| Savings Bank held in the
name of Pau| Manafort, Jr.

The application is based on these facts:

See attached affidavit

CI Continued on the attached sheet.

    

lpp ' m)l's signature

l’r)`n!ed name and title !

 

Sworn to before me and signed in my presence

/ , / . , . ,/` _ _, ' » /. -
‘ ,- ,r’./ ' 1 " {";-' ' v'_ f _ r_' , / l ' _ 1
Date. v ;/ » // /:'/~';f _ ' 5 1 .» , »' .
‘.\___.__ 4__\, ,__ .,, ~_7_.»__._ . \, f
Judge 's sigmllm'u

City and state: \~/Q?l\\hs‘\_"f~l m _Cl§\€€ ()_Hl_l-t! Sq\&esd|<»l'(l¢l» B`(

Primed name and title

 

 

 

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 2 of 37

FlLED

UCT 27 2017
UNITED STATES DIS'I`RICT COURT
C|erk, U.S. Dlslrict & Ban\<ruptcy

DIS'I`RICT OF COLUMBIA Courts for the District ot Columbia

Case: 1;17-mJ-OO783

iN THE MATIER 01= THE sEIzURE oF . Howe“ 33 1 AASsign.
FUNDS FRoM ACCOUNTS AT THREE g g;:;g.n$g,;§,`zm 7 ` ry
BANKS Description: Seizure Warrant

......................................................

AFFIDAVIT IN SUPPORT OF AN
APPLICATION FOR A SEIZURE WARRANT

I, _ being duly swom, hereby depose and state as follows:

I. Introduction

l. I am a Special Agent with Federal Bureau of Investigation (“FBI”) working directly
with the Special Counscl’s Office. I have been a Special Agent with the FBI since 2015. l have
training and experience related to national security investigations, as well as federal financial
crimes. While at the FBI Academy, I completed training in conducting financial investigations,
and I am familiar with how criminal activity is often conducted through the use of layered bank
transfers and offshore accounts. During my career, I have received training in and have
participated in the execution of search warrants for documents, records, and proceeds from illegal
activities, and have participated in the subsequent investigation and analysis of evidence seized
pursuant to these warrants.

2. This affidavit is based upon my personal knowledge, law enforcement personnel’s
review of documents and other evidence, my conversations with other law enforcement personnel,
and my training and experience. Because this affidavit is being submitted for the limited purpose
of establishing probable cause, it does not include all the facts that l have learned during the course
of my investigation Where the contents of documents or the statements and conversations of
others are reported herein, they are reported in substance and in pertinent part, except where

-1_

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 3 of 37

otherwise indicated The dates and amounts referred to in this affidavit are approximate, and
summaries of payments do not include all payments known in the investigation
II. I’roperty to Bc Seized

3. l make this affidavit in support of an application for the issuance of seizure
warrants, pursuant to 21 U.S.C. § 853(f) and Rule 41 of the Federal Rules of Criminal Procedure,
to seize the following assets (collectively, the Target Assets):

a. A sum of funds not to exceed $3,755,892.64 from bank account number _;

at _ l - - held in the name of _ (the
Target - Account);

b. A sum of funds not to exceed $271,000 from bank account number
_at - - N.A. held in the name of Kathleen Manafort (the
Target - - Account);

c. A sum of funds not to exceed $1,100,637 from bank account numbe-
at The Federal Savings Bank (TSFB) held in the name of Paul J. Manafort, Jr. (the
Target TFSB Account).

4. For the reasons stated herein, there is probable cause to believe that the Target
Assets are subject to seizure and forfeiture to the United States pursuant to, among other statutes,
21 U.S.C. § 853, 18 U.S.C. §§ 981(a)(l)(C) and 982(a)(1) (a)(?.), and 28 U.S.C. § 2461(c).

III. Relevant chal Authority

5. Section 853(f) of Title 21 of the United States Code provides that the Government
may request the issuance of a warrant authorizing the seizure of property subject to forfeiture in
the same manner as provided for a search warrant It further provides that if “the court determines

that there is probable cause to believe that the property to be seized Would, in the event of

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 4 of 37

conviction, be subject to forfeiture and that an order under subsection (e) [relating to issuance of a
protective order] may not be sufficient to assure the availability of the property for forfeiture, the
court shall issue a warrant authorizing the seizure of such property.” Pursua.nt to Section 853(1), a
court has jurisdiction without regard to the location of the property which may be subject to
forfeiture

6. Section 981(a)(l)(C) of Title 18 of the United States Code provides that property
that constitutes or is derived from proceeds traceable to an offense that is a “specified unlawful
activity” as defined in section 195 6(c)(7), or conspiracy to commit such an offense, is subject to
forfeiture,l Among the “specified unlawful activit[ies]” enumerated in section 1956(0)(7) are
felony violations of the Foreign Agents Registration Act of 1938 (FARA), 22 U.S.C. § 611 et seq.
FARA, in turn, requires every person who acts as an agent of a foreign principal to register, within
ten days, with the Attomey General, and it criminalizes willfully acting as an agent of a foreign
principal in the absence of such registration

7. Section 982(a)(]) of Title 18 of the United States Code provides that a court, “in
imposing sentence on a person convicted of an offense in violation of section 1956, 1957, or 1960
of this title, shall order that the person forfeit to the United States any property, real or personal,
involved in such offense, or any property traceable to such property.”2 Section 1956 prohibits,

among other things, conducting financial transactions affecting interstate and foreign commerce,

 

l Although section 981 i`s denominated a civil forfeiture statute, section 2461 of Title 28 provides,
among other things, that if a defendant is convicted of an offense giving rise to civil forfeiture, the
court “shall order forfeiture of the property as part of the sentence in the criminal case.”

2 lam advised that legitimate or untainted property, including commingled funds, may be forfeited
in a money laundering case “if the legitimate funds were somehow involved in the offense, such
as by helping to conceal that illegal funds.” See United States v. Aguasvz'vas-Castz`llo, 668 F.3d 7,
17 (lst Cir. 2012).

-3_

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 5 of 37

knowing that the property involved in the financial transactions represents the proceeds of some
form of unlawful activity, and the transactions in fact involved the proceeds of specified unlawful
activity, (i) with the intent to engage in conduct constituting a violation of sections 7201 and 7206
of the Intemal Revenue Code of 1986, or (ii) knowing that the transaction is designed to conceal
and disguise the nature, location, source, ownership, and control of the proceeds of the specified
unlawful activity. Section 1956(h) further criminalizes a conspiracy to commit any of the
substantive offenses in section 195 6, including the offenses described immediately above.

IV. Probable"Cause

 

8. As set forth below,_ there is probable cause to believe that the Target Assets are
subject to forfeiture: (1) pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. 2361(c), as property
traceable to the proceeds of specified unlawful activity, to wit, FARA violations, and (2) pursuant
to 18 U.S.C. § 982(a)(l), as property involved in a section 1956(h) money laundering conspiracy
to, among other things, knowingly conduct financial transactions affecting interstate commerce n
with the proceeds of specified unlawful activity, knowing that the financial transactions
represented the proceeds of some form of unlawful activity and (i) with the intent to engage in
conduct constituting a violation of sections 7201 and 7206 of the Internal Revenue Code of 1986
or (ii) knowing the transactions were designed in whole or in part to conceal and disguise the
nature, location, source, ownership, and control of the proceeds of the specified unlale activity.

A. Manafort’s and Gatcs’ Lobbving Work on Behalf of Ukrainian Officials

9. Manafort and Gates have been employed for many years through DMP
International LLC and related entities as lobbyists and political consultants, working both in the
United States and internationally. Manafort created DMP International LLC and Davis Manafort

International, LLC (collectively, DMI) to engage in work for foreign clients-in particular

_4-

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 6 of 37

political consulting and lobbying for Ukraine. Beginning in or about 2005 and at least until 2014,
Manafort provided political consulting services to the Ukrainian Party of Regions, including
Viktor Yanul<ovych, head of the Party of Regions and the President of Ukrainc from 2010 to 2014.
The Party of Regions was a pro-Russia political party in Ukraine. ln 2014, Yanukovych fled
Ukraine for Russia in the wake of popular demonstrations that protested, among other things,
widespread governmental corruption

10. Gates told the FBI in an interview in July 2014 that he was hired by Manafort in
2006 and that he worked on Ukrainian elections and gave policy advicc, up to the time of thc

interview. Gates advised that in 2010, he and Manafort were in Ukraine for over two months

leading up to the election that brought Yanukovych to power. _

 

1 1. As explained below, documents and other information gathered in the investigation

evidence that one aspect of DMI’s and Manafort’s Work for thc Party of Regions was to advance
the interests of the Party of Regions and Viktor Yanukovych in the United States - activity that
triggered an obligation to register as a foreign agent under FARA.

a. DMI ’s Work with a United States Publz`c Relatz`ons F irm on Behalf of the Party of
Regions

12. l _, Davis Manafort lnternalional, LLC engaged - l _

-1, a United States public relations firm, to provide communications services in
connection with its work for the Party of Regions and Yanukovych. l\/Iore particularly, documents
show that Davis Manafort International, LLC retaine<- to develop a communications
campaign to increase the visibility of Prime Minister Yanul<ovych in the United States and Europe.

_5-

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 7 of 37

Bank statements obtained from _show that_ invoiced Davis Manafort

International, to Manafort’s attention, for this work beginning in at least June 2007 and continuing
through at least October 2007. The invoices describe the work performed as “Prime Minister

Yanukovych Cpgn.”

13' __I--
-l-_l-_l__l

_ - l l - __ l__ -
_l_l-I-¢--__--.
_ l-- _- - - _l
_-l---l-_.--I
__-lI--l-----
_ _1 - A search anne United states Depanment OfJuSrice database

of all agents currently or previously registered under FARA shows that Davis Manafort
International and Manafort failed to register their 2007 work to advance the interests of the Party

of Regions and Yanukovych in the United States.

b. Evidence of DMI 's Work on Behalf of the Party of Regz`ons in the United States in
2005

14. There is also evidence that Manafort was engaged in efforts to advance the interests

of the Party of Regions prior to the engagement of - in 2007. In response to a grand jury

Subpoena, _ _- -- - l`-_ -
_'_----¢_-
_'_1---;_-|-'-'_1-

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 8 of 37

15 . ln the first of the two Akhmelov memoranda, dated .Iune 2, 2005, Manafort reported
on a meeting he had with the coordinator of United States-Ukraine policy at the National Security
Council. Manafort also circulated to Akhmetov and others copied on the memorandum a set of
attached “Talking Points that are being circulated by the US government to use in meetings with
Ukraine Government officials,” which “retlect[] the policy of the Busli Adrninislration."" Manafort
cautioned that “[i]t is very important that we do not let these 'l`alking Points get leaked to anyone
outside of our very limited circle. If this paper is leaked, it will totally compromise my position
in Washington.”

16. The second Akhmetov memorandum, dated July 6, 2005, was titled “Evolution of
US Policy to Ukraine.” ln that memorandum, Manafort summarized developments in United
States policy toward the then-President of Ukraine Viktor Yushchenl<o, Who was a political

opponent of Yanukovych. Manafort concluded by advising Akhmetov that “[o]ur strategy in the

United States is working.”

 

  

The April 12, 2017
Assocrated Press article reported that DMI records showed that at least two payments were made
to DMI that correspond to payments noted in the “black ledger.” Following publication of that
article, Manafort through a spokesman said that he had been paid according to his clients’
“prcferred financial institutions and instructions.”

 

-7_

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 9 of 37

c. Manafort ’s Knowledge of the FARA filing requirement al least as early as 2007

18. The investigation has established that Manafort was aware of the requirement that

individuals performing work on behalf of foreign principals in the United States must register

under l"ARA.

 

19. 'I`here is also documentary evidence that7 at least as early as 2007, Gates and

Manafort were aware of and discussed the requirement that persons acting on behalf of a foreign

principal in the United States register under FARA. _

 

 

 

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 10 of 37

_-l_~_--l-
ll_l-I_ll-l_l`l--
-_il-I_-_,-
- ___ I-
I-l- I---l--I_II
__ __ _ ---I
_l_'

20- -_--__-
_-I-_'Il_-:--l-'
l - _ As indicated above however, a search ofth FARA database shows that

DMI, Manafort, and Gates ultimately did not register under FARA during this time period.

d. DMl’s Lobbyz`ng in the United States Through - and . _ in

2012-2014

21. In 2012, as part of their Work on behalf of the Party of Regions, Gates, Manafort,
and DMI engaged two U.S. lobbying firms with offices in Washington, D.C., _ -
- - - and _ l n _), to perform lobbying
activities in the United States. Both firms worked directly with Manafort and Gates and through
an entity that was created for this purpose named the European Centre for a Modern Ukraine
(ECFMU).

22. The evidence that the FBl has collected in this investigation establishes that the
ECFMU Was created in 2012 as an ann of the Government of llkraine, Yanukovyeh, and/or the
Party of Regions, and was used to distance Yanukovych and the Party of Regions from the work

being performed by-and _i- in the United States. 'l`he ECFMU was created

to lobby and conduct a public relations campaign in the United States and Europe on behalf of the

_o-

Case 1:17-cr-00201-AB.] Doeument 378-3 Filed 08/22/18 Page 11 of 37

existing Ukraine regime lt was headquartered in Belgium, and had as its “Managing Director”

- - - The ECFML' ceased to operate upon the downfall of Yanul<ovych in 2014.

23. In an email date

 

 

Case 1:17-cr-00201-AB.] Doeument 378-3 Filed 08/22/18 Page 12 of 37

___-ll----lll
_-I-l__:--._il-l
-ll-_--_I---
--ll_-l-:__l_

C.

 

25. Bank records and documentation obtained fron- and-_ _
show that the two lobbying firms were paid for their services throuin various off-shore accounts

associated with Manafort entities, including Bletilla Ventures Limited (in Cyprus) and Global

Endeavour lnc. (in the Grenadines). In total, _ and the - -» were paid more than

$2,000,000 from these off-shore accounts between 2012 and 2014. 'I`hese payments served to

promote the lobbying work ofi\/Ianafort, Gates, -, and- - -

_11_

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 13 of 37

26, A search of the United States Department of Justice database of`all agents currently
or previously registered under FARA, conducted in July 2017, disclosed that Manafoit, Gates, and
their affiliated entities, including DMl, failed to register as agents of a foreign principal for their
Work on behalf of the Party of Regions, Ukraine, and Yanukovych until June 27, 2()17.6
Accordingly, I submit there is probable cause to believe that funds earned from the Party of
Regions represent proceeds ofa FARA offense.

B. Manafort and Gates’ Use of Overseas /-\ccounts to Receive Payment for Services from
Ul<rainian Officials.

 

28. ln an interview with the b`Bl in 2014, Gates admitted that he was directed to open
accounts in Cyprus by President Yanukovych’s Chief of Staff` Boris Kolesnil<ov. He was told that
it was easier for Gates and Manafort to be paid from one Cyprus account to another Cyprus
account Gates said that various oligarchs would chip in to pay them for their consulting work.
Gates identified Lucicie, Bietilla, Leviathan, and Global Endeavor (among others) as accounts

opened to receive such payments.

 

6 The database is publicly available at https://mvw.fara.gov/.

_12_

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 14 of 37

29. Pursuant to a mutual legal assistance treaty (MLAT) request, the FBI has obtained
bank records associated with Cypriot accounts held in the name of various legal entities affiliated

with Manafort and Gates. A review of` the bank records obtained to date disclosed the following

beneficial ownership and signature authority over pertinent entities and aceounts:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

BANK ACCOUNT NAME BENEFICIAL SIGNATORY7
OWNER(S)

Bank of Cyprus Yiakora Ventures Ltd. Manafort
Lucicle Consultants Ltd. Gates Manafort, Gates
Actinet Trading Manafort Manafort, Gates
Black Sea View Ltd. Gates
Bletilla Ventures Ltd. Manafort
EVO Holdings Ltd. Gates
PEM Gates
Global Highway Ltd. Gates
LOAV Advisors Limited Manafort/Gates
Leviathan Advisors Ltd. Gates
Peranova Holdings Ltd. Gates

Hellenic Bank Actinet Trading Gates
Bletilla Ventures Ltd. Gates/Kilimnik
Lucicle Consultants Ltd. Gates
Marziola Kilimnik
Olivenia Trading Gates/Kilimnik

 

 

7 Where no signatory is listed, bank records indicate that the signatory was a Cypriot individual(s).

_]3_

 

Case 1:17-cr-00201-AB.] Document 378-3 ' Filed 08/22/18 Page 15 of 37

C. Launderinj_> of the Proceeds of DMI’s Work for the Party of Regions into the United States

30. Bank records and other documents show that from 2008 to 2014, at least 200 wires

totaling more than 312,000,000 were sent to various vendors in the United States for personal

goods and services provided to Manafort, from various Cypriot and other overseas accounts:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Transaction , . , Count of Amount of

Payee Date ongmatmg Account Origin;)t'ion Transaction
Vendor A 6/10/2008 LOAV Advisors Limited Cyprus $107,000
(Home 6/25/2008 LOAV Advisors Limited Cyprus $23,500
Im V c t 7/7/2008 LOAV Advisors Limited Cyprus $20,00`0

pro em n _ _ _
COmpany/General 8/5/2008 Yiakora Ventures Limited Cyprus $59,000
Conuactor in the 9/2/2008 Yiakora Ventures Limited Cyprus $272,000
Hamptons, New 10/6/2008 Yiakora Ventures Limited Cyprus $109,000
Yo[k) 10/24/2008 Yiakora Ventures Limited Cyprus $107,800
l 1/20/2008 Yiakora Ventures Limited Cyprus $77,400
12/22/2008 Yiakora Ventures Limited Cyprus $100,000
l/ 14/2009 Yiakora Ventures Limited Cyprus $9,25 0
1/29/2009 Yiakora Ventures Limited Cyprus $97,670
2/25/2009 Yiakora Ventures Limited Cyprus $108,100
4/16/2009 Yiakora Ventures Limited Cyprus $94,3 94
5/7/2009 Yiakora Ventures Limited Cyprus $54,000
5/12/2009 Yiakora Ventures Limited Cyprus $9,550
6/1/2009 Yiakora Ventures Limited Cyprus $86,650
6/18/2009 Yiakora Ventures Limited Cyprus $34,400
7/31/2009 Yiakora Ventures Limited Cyprus $106,000
8/28/2009 Yiakora Ventures Limited Cyprus $37,000
9/23/2009 Yiakora Ventures Limited Cyprus $203,500
10/26/2009 Yiakora Ventures Limited Cyprus $38,800
1 1/18/2009 Global Highway Limited Cyprus $130,906
3/8/2010 Global Highway Limited Cyprus 3124,000
5/1 1/2010 Global Highway Limited Cyprus $25,000
7/8/2010 Global Highway Limited Cyprus $28,000
7/23/20]0 Leviathan Advisors Limited Cyprus $26,500
8/12/2010 Leviathan Advisors Limited Cyprus $138,900
9/2/2010 Yiakora Ventures Limited Cyprus $3 1 ,5 00
10/6/2010 Global Highway Limited Cyprus $67,600
10/14/2010 Yiakora Ventures Limited Cyprus

 

 

 

_14_

$107,600

 

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 16 of 37

 

 

 

Transaction . . . Count of Amount of
Payee Date Ongmatmg Account Origin;i]ion Transaction
10/18/2010 Leviathan Advisors Limited Cyprus $31,500 _
12/16/2010 Global Highway Limited Cyprus $46,160
2/7/201 l Global Highway Limited Cyprus $36,500
3/22/2011 Leviathan Advisors Limited Cyprus $26,800
4/4/2011 Leviathan Advisors Limited Cyprus $195,000
5/3/2011 Global Highway Limited Cyprus $95,000
5/16/201 l Leviathan Advisors Limited Cyprus $6,500
5/31/2011 Leviathan Advisors Limited Cyprus $70,000
6/27/2011 Leviathan Advisors Limited Cyprus $39,900
7/27/2011 Leviathan Advisors Limited Cyprus $95,000
10/24/2011 Global Highway Limited Cyprus $22,000
10/25/201 1 Global Highway Limited Cyprus $9,300
11/15/2011 Global Highway Limited Cyprus $74,000
l 1/23/201 1 Global Highway Limited Cyprus $22,300
11/29/2011 Global Highway Limited Cyprus $6,100
12/12/2011 Leviathan Advisors Limited Cyprus $17,800
1/17/2012 Global Highway Limited Cyprus $29,800
1/20/2012 Global Highway Limited Cyprus $42,600
2/9/2012 Global Highway Limited Cyprus .$22,300
2/23/2012 Global Highway Limited Cyprus $75,000
2/28/2012 Global Highway Limited Cyprus $22,300
3/28/2012 Peranova Holdings Limited Cyprus $37,500
4/18/2012 Lucicle Consultants Limited Cyprus $50,000
5/15/2012 Lucicle Consultants Limited Cyprus $79,000
6/5/2012 Lucicle Consultants Limited Cyprus $45,000
6/19/2012 Lucicle Consultants Limited Cyprus $11,860
7/9/2012 Lucicle Consultants Limited Cyprus $10,800
7/18/2012 Lucicle Consultants Limited Cyprus $88,000
8/7/2012 Lucicle Consultants Limited Cyprus $48,800
9/27/2012 Lucicle Consultants Limited Cyprus $100,000
11/20/2012 Lucicle Consultants Limited Cyprus $298,000
12/20/2012 Lucicle Consultants Limited Cyprus $55,000
1/29/2013 Lucicle Consultants Limited Cyprus $149,000
3/12/20] 3 Lucicle Consultants Limited Cyprus $375,000
8/29/2013 Global Endeavour Inc. Grenadines $200,000
11/13/2013 Global Endeavour lnc. Grenadines $75,000
l 1/26/2013 Global Endeavour Inc. Grenadines $80,000
12/6/2013 Global Endeavour lnc. Grenadines $130,000

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

-15_

 

Case 1:17-cr-00201-AB.] Documept 378-3 Filed 08/22/18 Page 17 of 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Transaction . . . Count of Amount of
Payee Date Ongmatmg Account Origin;)t]ion Transaction
12/12/2013 Global Endeavour lnc. Grenadines $90,000
4/22/2014 Unknown Grenadines $5 6,293
8/ 1 8/2014 Global Endeavour lnc. Grenadines $34,660
Vendor A Total $5,434,793
Vendor B 3/22/2011 Leviathan Advisors Limited Cyprus $12.000
. 3/28/201] Leviathan Advisors Limited Cyprus $25,000
§§g;:§::°me 4/27/2011 Leviathan Advisors Limited Cyprus s12,000
lighting and 5/16/2011 Leviathan Advlsors Limited Cyprus $25,000
Home l 1/15/2011 Global Highway Limited Cyprus $17,006
Entertainmem 11/23/2011 Global Highway Limited Cyprus $11,000
Company in 2/28/2012 Global Highway Limited Cyprus $6,200
'Florida) 10/31/2012 Lucicle Consultants Limited Cyprus $290,000
12/17/2012 Lucicle Consultants Limited Cyprus $160,600
1/15/2013 Lucicle Consultants Limited Cyprus 3194,000
l/24/2013 Lucicle Consultants Limited Cyprus $6,300
2/12/2013 Lucicle Consultants Limited Cyprus $51,600
2/26/2013 Lucicle Consultants Limited Cyprus $260,000
7/15/2013 Pempele Limited United $175,575
Kingdom
l 1/5/2013 Global Endeavour Inc. Grenadines $73,000
Vendor B Total $1,319,281
Vendor C 10/7/2008 Yiakora Ventures Limited Cyprus $15,750
(Antique Rug 3/17/2009 Yiakora Ventures Limited Cyprus $46,200
StOr€ in 4/16/2009 Yiakora Ventures Limited Cyprus $7,400
Alexandria, 4/27/2009 Yiakora ventures Limited Cyprus $65,000
Virginia) 5/7/2009 Yiakora ventures Limited cyprus $210,000
7/15/2009 Yiakora Ventures Limited Cyprus $200,000
3/31/2010 Yiakora Ventures Limited Cyprus $140,000
6/1 6/2010 Global Highway Limited Cyprus $250,000
Vendor C Total $934,350
Vendor D
(Related to 2/28/2012 Global Highway Limited Cyprus $100,000
Vendor C)
Vendor D Total $100,000
Vendor E 11/7/2008 Yiakora Ventures Limited Cyprus $32,000
2/5/2009 Yiakora Ventures Limited Cyprus $22,750
4/27/2009 Yiakora Ventures Limited Cyprus $13,500
10/26/2009 Yiakora Ventures Limited Cyprus $32,500

 

-16_

 

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 18 of 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Transaction . . . Count of Amount of

Payee Date originatmg Amount Origin;)t]ion Transaction
(Men’s Clothing 3/30/2010 Yiakora Ventures Limited Cyprus $15,000
Store in New 5/1 1/2010 Global Highway Limited Cyprus $39,000
York) 6/28/2010 Leviathan Advisors Limited Cyprus $5,000
8/12/2010 Leviathan Advisors Limited Cyprus $32,500
1 1/17/2010 Global Highway Limited Cyprus $1 1,500
2/7/2011 Global Highway Limited Cyprus $24,000
3/22/2011 Leviathan Advisors Limited Cyprus $43,600
3/28/2011 Leviathan Advisors Limited Cyprus $12,000
4/27/201 l Leviathan Advisors Limited Cyprus $3,000
6/3 0/2011 Global Highway Limited Cyprus $24,500
9/26/201 1 Leviathan Advisors Limited Cyprus $12,000
1 1/2/201 1 Global Highway Limited Cyprus $26,700
12/12/2011 Leviathan Advisors Limited Cyprus $46,000
2/9/2012 Global Highway Limited Cyprus $2,800
2/28/2012 Global Highway Limited Cyprus $16,000
-3/14/2012 Lucicle Consultants Limited Cyprus $8,000
4/18/2012 Lucicle Consultants Limited Cyprus $48,550
5/15/2012 Lucicle Consultants Limited Cyprus $7,000
6/19/2012 Lucicle Consultants Limited Cyprus $21,600
8/7/2012 Lucicle Consultants Limited Cyprus $15,500
1 1/20/2012 Lucicle Consultants Limited Cyprus $10,900
]2/20/2012 Lucicle Consultants Limited Cyprus $7,5 00
1/15/2013 Lucicle Consultants Limited Cyprus $37,000
2/12/2013 Lucicle Consultants Limited Cyprus $7,000
2/26/2013 Lucicle Consultants Limited Cyprus $39,000
9/3/2013 Global Endeavour lnc. Grenadines $81,5 00
1 0/1 5/ 201 3 Global Endeavour Inc. Grenadines $53,000
11/26/2013 Global Endeavour Inc. Grenadines $13,200
4/24/2014 Global Endeavour Inc. Unknown $26,680
9/1 1/2014 Global Endeavour Inc. Grenadines $58,43 5
Vendsr E Tctal $849,215
Vendor F 4/27/2009 Yiakora Ventures Limited Cyprus $34,000
(Landscaper in 5/12/200`9 Yiakora Ventures Limited Cyprus $45,700
the Hamptons’ 6/1/2009 Yiakora Ventures Limited Cyprus $21,500
New Yol_k) 6/18/2009 Yiakora Ventures Limited Cyprus $29,000
9/21/2009 Yiakora Ventures Limited Cyprus $21,800
5/1 1/2010 Global Highway Limited Cyprus $44,000
6/28/2010 Leviathan Advisors Limited Cyprus $50,000

 

-]7_

 

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 19 of 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Transaction . . . Count of Amount of
Payee Date Ongmatmg Amount Origin;>t]ion Transaction
7/23/2010 Leviathan Advisors Limited Cyprus $19,000
9/2/2010 Yiakora Ventures Limited Cyprus $21,000
10/6/2010 Global Highway Limited Cyprus $57,700
10/18/2010 Leviathan Advisors Limited Cyprus $26,000
12/16/2010 Global Highway Limited Cyprus $20,000
3/22/201 l Leviathan Advisors Limited Cyprus $50,000
5/3/2011 Global Highway Limited Cyprus $40,000
6/1/2011 Leviathan Advisors Limited Cyprus $44,000
7/27/2011 Leviathan Advisors Limited Cyprus $27,000
8/16/201 l Leviathan Advisors Limited Cyprus $13,450
9/19/2011 Leviathan Advisors Limited Cyprus $12,000
10/24/201 1 Global Highway Limited Cyprus $42,000
11/2/2011 Global Highway Limited Cyprus $37,350
Vendor F Total $655,500
Vendor G 9/2/2010 Yiakora Ventures Limited Cyprus $165,000
(Antique Dealer 10/18/2010 Leviathan Advisors Limited Cyprus $165,000
in New York) 2/28/2012 Global Highway Limited Cyprus $190,600
3/14/2012' Lucicle Consultants Limited Cyprus $75,000
2/26/2013 Lucicle Consultants Limited Cyprus $28,310
Vendor G Total $623,910
Vendor H 6/25/2008 LOAV Advisors Limited Cyprus $52,000
(Clothing Store in 12/16/2008 Yiakora Ventures Limited Cyprus $49,000
Beverly Hi]ls’ 12/22/2008 Yiakora Ventures Limited Cyprus $10,260
Califomia) 8/12/2009 Yiakora Ventures Limited Cyprus $76,400
5/11/2010 Global Highway Limited Cyprus $85,000
1]/17/2010 Global Highway Limited Cyprus $128,280
5/31/201 1 Leviathan Advisors Limited Cyprus $64,000
1 1/15/201 1 Global Highway Limited Cyprus $48,000
12/1 7/2012 Lucicle Consultants Limited Cyprus $7,500
Vendor H Total $520,440
Vendor l
(Investmem 9/3/2013 Global Endeavour Inc. Grenadines $500,000
Company)
Vendor I Total $500,000
Vendor J 11/15/201] Global Highway Limited Cyprus $8,000
12/5/201 l Leviathan Advisors Limited Cyprus $11,237
12/21/2011 Black Sea View Limited Cyprus $20,000

 

 

 

 

 

 

 

 

_13-

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 20 of 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

'I`ransaction . . . Count of Amount of
Payee Date Ongmatmg Amount Origin;i'ion Transaction
(Contractor in 2/9/2012 Global Highway Limited Cyprus $51,000
FlOrida) 5/17/2012 Lucicle Consultants Limited Cyprus $68,000
6/19/2012 Lucicle Consultants Limited Cyprus $60,000
7/18/2012 Lucicle Consultants Limited Cyprus $32,250
9/19/2012 Lucicle Consultants Limited Cyprus $112,000
11/30/2012 Lucicle Consultants Limited Cyprus $39,700
1/9/2013 Lucicle Consultants Limited Cyprus $25,600
2/28/2013 Lucicle Consultants Limited Cyprus $4,700
Vendor J Total $432,487
Vendor K 12/5/201 1 Leviathan Advisors Limited Cyprus $4,115
(Landscaper in 3/1/2012 Global Highway Limited Cyprus $50,000
the Hamptons’ 6/6/2012 Lucicle Consultants Limited Cyprus $47,800
NeW York) 6/25/2012 Lucicle Consultants Limited Cyprus $17,900
6/27/2012 Lucicle Consultants Limited Cyprus 318,900
2/12/2013 Lucicle Consultants Limited Cyprus $3,3 00
7/15/2013 Pentpeie Limited United s13,325
Kingdom
11/26/2013 Global Endeavour Inc. Grenadines $9,'40.0
Vendor K Total $l64,740
Vendor L 4/12/2012 Lucicle Consultants Limited Cyprus $83,525
((l) PurChaS€ Of 5/2/2012 Lucicle Consultants Limited Cyprus $12,525
2012 Range
Roven
(2) Dewn
Payment for
Leased 2012 6/29/2012 Lueieie consultants Limited cyprus s67,655
Range Rover
1114;
(3) Purchase of
2012 Range
Rover)
Vendor L Total $163,705
Vendor M 11/20/2012 Lucicle Consultants Limited Cyprus $45,000
(Comractor in 12/7/2012 Lucicle Consultants Limited Cyprus $21,000
Virginia) 12/17/2012 Lucicle Consultants Limited Cyprus $21,000
1/17/2013 Lucicle Consultants Limited Cyprus $18,750
1/29/2013 Lucicle Consultants Limited Cyprus $9,400

 

 

 

 

 

 

-19-

Case 1:17-cr-OO201-AB.] Document 378-3 Filed 08/22/18 Page 21 of 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Transaction . , , Country of Amount of
Payee Date Ongmatmg Account Origination Transaction
2/12/2013 Lucicle Consultants Limited Cyprus $10,500
Vendor M Total $125,650
Vendor N 1/29/2009 Yiakora Ventures Limited Cyprus $10,000
(Audio’ Video’ 3/17/2009 Yiakora Ventures Limited Cyprus $21,725
and Control 4/16/2009 Yiakora Ventures lelted Cyprus $24,650
System Home 12/2/2009 Global Highway Limited Cyprus $10,000
Integration and 3/8/2010 Global Highway Limited Cyprus $20,300
Installation 4/23/2010 Yiakora Ventures Limited Cyprus $8,500
Company in the 7/29/2010 Leviathan Advisors Limited cyprus $17,650
Hamptons, NY)
Vendor N Total $112,825
Vendor 0
(PUfChaS€ Of 2013 10/5/2012 Lucicle Consultants Limited Cyprus $62,750
Mercedes Benz
SL550)
Vendor 0 Total 562,750
Vendor P
(Purchase of 2008 12/30/2008 Yiakora Ventures Limited Cyprus $47,000
Land Rover
Range Rover
Vendor P Total $47,000
Vendor Q 9/2/2010 Yiakora Ventures Limited Cyprus $10,000
(Pro my 10/6/2010 Global Highway Limited Cyprus $10,000
Manl;gemem 10/18/2010 Leviathan Advisors Limited cyprus s10,000
Company in 2/8/2011 Global Highway Limited Cyprus $13,500
South Carolina) 2/9/2012 Global Highway Limited Cyprus $2,500
Vendor Q Total $46,000
Vendor R 2/9/2011 Global Highway Limited Cyprus $17,900
(Art Gallery in 2/14/2013 Lucicle Consultants Limited Cyprus $14,000
Florida)
Vendor R Total $31,900
Vendor S 9/26/2011 Leviathan Advisors Limited Cyprus $5,000
. . 9/19/2012 Lucicle Consultants Limited Cyprus $5,000
(Housekeepmg in
New York) 10/9/2013 Global Endeavour Inc. Grenadines $10,000
Vendor S Total $20,000

 

-20_

 

Case 1:17-cr-OO201-AB.] Document 378-3 Filed 08/22/18 Page 22 of 37

31. Bank records and property transaction records also show that Manafort caused
funds to be sent from overseas accounts into accounts in the United States for use in purchasing
real property. For example, email communications show that on or about August 30, 2012,
Manafort advised a real estate agent involved in the purchase of a house in Arlington, Virginia,
that “$1.9M should be in your escrow account tomorrow morning. lt is coming from Lucille [sic]
LLC.” Bank and property transaction records confirm that on or about August 31, 2012, a Wire in
the amount of approximately $1,900,000 was sent from a Cyprus account held by Lucicle
Consultants Limited to a law firm in Virginia for the purchase of a house in Arlington, Which Was
titled in the name Manafort’s daughter Andrea.

32. Documents obtained in the investigation evidence that Manafort and Gates
communicated about the overseas accounts and that Manafort maintained approval authority over
the movement of funds in the accounts For example, in an email exchange between Manafort and
Gates in late November 2011, which was obtained pursuant to a search warrant, Gates and
Manafort discussed the movement of funds to and from the Leviathan and Peranova accounts On
November 28, 2011, Gates emailed Manafort that he planned to “transfer the money from the Levi
account to DMP Intl unless you direct otherwise.” Based on context, I believe that “Levi” refers
to Leviathan Advisors. One day later, Gates advised Manafort that he would move $328,000 from
the “Levi” account to Peranova in order to pay bills. In response, Manafort approved the
transactions proposed by Gates.

33. A review of Manafort’s tax returns for 2010 through 2014 shows that, although
Manafort declared payments made from the Cypriot and other overseas accounts to certain bank

accounts in the United States held by DMI as income to DM[, Manafort did not report the direct

-21_

Case 1:17-cr-OO201-AB.] Document 378-3 Filed 08/22/18 Page 23 of 37

vendor payments described above. In at least 2010 through 2014, Manafort also submitted a
Schedule B form, which required him to declare whether he had “an interest in or a signature []
authority over a financial account in a foreign country, such as a bank account, securities account,
or other financial account.” Each year, Manafort declared “No.” Work papers obtained from tax
accountants at KWC, a Virginia firm that prepared Manafort’s taxes, show that on or about October
4, 201 l, a tax preparer emailed Manafort with several questions, including the following: “At any
time during 2010, did you, Kathy, Andrea or Jessica have an interest in or a signature or other
authority over a financial account in a foreign country, such as a bank account, securities account
or other financial account.” Manafort responded “NO.”

34. Based on email communications between Gates and Manafort, and between Gates
and KWC, I know that both Gates and Manafort Were involved in the preparation of Manafort’s
taxes. For example, in an email dated May 11, 2015, Gates mentioned receipt of a Schedule K-l
that reported the income, losses, and dividends for one of Manafort’s business entities. Gates
stated that he would speak to Philip Ayliff`, one of Manafort’s tax preparers at KWC, to “see if we
can alter some of the income corning into you.”

35. The FBI has also identified additional communications sent by Manafort and Gates
in furtherance of the scheme to conceal the existence of overseas accounts from Manafort’s tax
preparers and United States authorities, thereby facilitating the concealment of the income flowing
from those accounts to vendors. These emails include the following:

a. On or about October 2, 2015, a tax accountant at KWC emailed Gates about
“pending matters” related to Manafort’s tax return, including the query: “Foreign
bank disclosure ??? has it changed from last year?” On or about October 7, 2015,

Gates responded in relevant part: “[N]othing has changed on the foreign bank

_22_

Case 1:17-cr-OO201-AB.] Document 378-3 Filed 08/22/18 Page 24 of 37

disclosure form.” At the request of the tax accountant, Gates also attached to the
entail a signed copy of Manafort’s engagement letter with KWC for tax year 2014.
b. On or about October 3, 2016, MANAFORT’s tax preparer emailed the following
question in connection With the preparation of MANAFORT’$ tax returns: “Foreign
bank accounts etc.?” MANAFORT responded on or about the same day: “NONE.”

36. Two of Manafort’s tax preparers from KWC have advised the FBI that they were
not aware that Manafort controlled any foreign accounts; otherwise they would have required these
accounts to be reported on the tax retums. They also testified that, although they saw some
payments by, and loans from, certain of the Cyprus entities listed in the table above (i.e., payments
and loans that were recorded on Manafort’s tax returns), they understood that these Cyprus entities
were independent third parties rather than affiliates of Manafort or DMI.

37. Manafort further failed to report these vendor payments to the United States
government in connection With his obligation to register for his work in the United States on behalf
of the Ukrainian Party of Regions, the Ukraine government, and Yanukovych pursuant to FARA.
As noted above, there is evidence that Manafort Worked to advance the interests of the Party of
Regions and Yanukovych in the United States over an extended period, including through-
in approximately 2007 and through - and -- - in approximately 2012 to
2014. A July 2017 search of the United States Department of Justice database of all agents
currently or previously registered under FARA disclosed that DMI failed to register as an agent of
the relevant foreign government and political party until June 27, 2017.

38. Pursuant to FARA, individuals acting on behalf of a foreign principal such a foreign
government or foreign political party are required not only to register with the Attomey General,

but also to disclose information about the nature of their lobbying work on behalf of the foreign

-23-

Case 1:17-cr-OO201-AB.] Document 378-3 Filed 08/22/18 Page 25 of 37

principal and the income and other compensation received therefrom. By failing to register under
FARA until 2017 for lobbying work he performed in 2012 to 2014, Manafort avoided having to
disclose the details of his compensation from the Party of Regions to the Attomey General until
2017.

39. On or about June 27, 2017, DMl’s FARA registration papers were subrititted to the
FARA Unit of the Department of Justice’s National Security Division. In those forms, DMI,
Manafort, and Gates reported that they acted or agreed to act on behalf of the Party of Regions in
2012 through early 2014. No mention was made of any Work performed prior to 2012,

40. The registration forms required DMI to report, during various six~month periods
for which it acted on behalf of the Party of Regions, the dates, amounts, and purpose(s) of any
“contributions, income or money either as compensation or otherwise” received from the Party of
Regions. DMI reported receipt of approximately $17 million from the Party of Regions between
January 2012 and January 2014. DMI’s FARA registration failed, however, to disclose the-
payments sent directly to United States vendors for Manafort’s benefit, from many of the same
Cypriot and other overseas accounts that, bank records show, were also used to transfer roughly
317 million to DMI.

D. The Target Assets Were Involved in the Money Laundering Conspiracv

41. As set forth below\, there is probable cause to believe that the Target Assets are
involved in the money laundering conspiracy described above and are therefore subject to
forfeiture

1. The Target -» Account
42. As set forth below, there is probable to believe that $3,755,892.64 in funds in the

Tar et Account are traceable to pro erty involved in a money laundering conspiracy in
g 13

_24_

Case 1:17-cr-OO201-AB.] Document 378-3 Filed 08/22/18 Page 26 of 37

violation of 18 U.S.C. § 1956(h) In particular, as set forth below, there is probable cause to
believe that the Target - Account is traceable to a 2008 wire transfer of approximately
$8,000,000 from the Cypriot account of Yiakora Ventures to the U.S. bank account of an entity
affiliated with Manafort (the $8 million wire), which transfer was part of the money laundering
conspiracy described above,

a. The $8 Mz`llz'on Wz`refrom Yiakora Ventures

43. Documents obtained from First Republic Bank (FRB), where Manafort maintained
numerous accounts (in his name and in the name of various entities) between at least 2005 and
2014, show that Manafort opened an account in the name of Jesand lnvestment Corporation
(Jesand) in or around May 2008. Jesand was incorporated in Virginia in 2002, and according to
KWC witnesses, its name is an amalgamation of Manafort’s two daughters: Andrea and Jessica.
Records obtained from KWC show that KWC performed tax work for Jesand.

44. ln or around the same time that Manafort opened the Jesand account at FRB,
Manafort also caused FRB to open accounts in the names of his two daughters, Jessica and Andrea
Manafort,

45 . Bank records show that on or about June 4, 2008, a wire transfer in the amount of
approximately $8,000,000 was sent from a bank account at Bank of Cyprus held in the name of

Yiakora Ventures Limited (Yiakora Ventures) to the recently-opened Jesand account at -

vested emma - - - _ _ _t
_F-_l_-----l

_l_-_---_
-I--I---III_l
_`l_‘_-

_25-

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 27 of 37

46. As indicated above, account records for the Yiakora Ventures account obtained
from Cyprus pursuant to an MLAT request show that Manafort was the stated beneficial owner of
Yiakora Ventures.

47. Records obtained from KWC show that Manafort did not report the $8 million wire
from Yiakora Ventures as income on his tax return in 2008 or thereafter. Instcad, thc bookkeeping
records for Jesand, a copy of which was provided to KWC on a yearly basis, recorded the payment
as a liability, i.e., as a loan from Yiakora Ventures to Jesand.

48. Jesand lnvestment Corporation was liquidated in 201 l. Following that liquidation,
the supposed “loan” from Yiakora Ventures to Jesand was transferred to Paul and Kathleen
Manafort’s balance sheet.

49. However, an initial version of Paul & Kathleen’s Assets and Liabilities for the year
ending December 31, 2013, which was prepared by bookkeepers at Nigro Karlin Segal & Feldstein
(NKSFB) omitted any reference to a liability to Yiakora Ventures. Documents obtained from
KWC show that one of Manafort’s tax accountants, Philip Ayliff, emailed Heather Washkuhn at
NKSFB on or about September 5, 2014 with an attachment titled, “Paul and Kathy Manafort[:]
Questions/comments relating to the 2013 general ledger and statements provided by Heather and
after feedback by Rick Gates.” The document identified several “[u]nrecorded liabilit[ies] that
needed to be added” to the Statement of Assets and Liabilities. Among others, it listed: “From
the old Jesand lnvestment Corp - this entity was liquidated at the end of 2011. The following
should still be on Paul’s balance sheet as liabilities: [] Yiakora Ventures loan (JIC) of $8,120,000.”

50. A later version of the Assets and Liabilities for Paul and Kathleen Manafort for the
year ending December 31, 2013 records a liability to Yiakora Ventures of $8,120,000.

51. Ayliff informed the FBI that:

-26_

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 28 of 37

a. he understood that Yiakora Ventures was a third party, rather than an entity
affiliated With Manafort;
b. it Would have been relevant to him if Yiakora Ventures Was in fact affiliated with
Manafort;
c. if the loan were not a true loan, it would need to be recorded as income;
d. if the loan were wiped off the balance sheet, for example if it were to be forgiven,
it Would then have to be reported as income; and
e. one of his concerns about Manafort’s taxes over the years was the number of loans
from various entities, which were not being recorded as income, but which he had
been led to believe Were legitimate loans.
52. According to a Statement of Assets and Liabilities for Paul and Kathleen Manafort
for the year ending December 31, 2016, a copy of which was obtained from KWC, the $8,120,000
“loan” from Yiakora Ventures had not been paid off by the end of 20 l 6 and was still being recorded
as a liability in the same amount, i.e., with no additional interest due.
' f Nexus to the Target- Account
53. There is probable cause to believe that funds up to and including $3,755,892.64 in
the Target _ Account are traceable to the approximately $8 million in undeclared income
previously held in a Cypriot bank account in the name of Yiakora Ventures,8 which was then_
transferred into the United States via international wire from Yiakora Ventures to Jesand.
54. On or about the same day that $8 million was transferred from Yiakora Ventures to

the Jesand FRB Account, $7,650,000 was transferred from the Jesand FRB Account to a money

 

8 Based on the evidence described above, the $8 million in the Yiakora Ventures account is
believed to have been payment for services, including lobbying, provided to DMI for work on
behalf of the Ukraine and other foreign countries

-27-

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 29 of 37

market account at FRB held in Jesand’s name (Jesand l\/ll\/IA Account). Bank statements show
that, of the $7,650,000 transferred into the Jesand l\/IMA Account, $3,000,000 was transferred to
an FRB-Pershing account held by Andrea Manafort and $3,000,000 was transferred to an FRB-
Pershing account held by Jessica Manafort. These transfers took place on or about June 10, 2008,
a few days after thc original $8,000,000 Wiie, and they were the first significant deposits into

Jessica and Andrea Manafort’s FRB-Pershing accounts

55- ----_l-ll_-l
__:__t_ll-
--ll_-l_--’

56. The use of the majority of the $8 million Yiakora Ventures wire to fund bank
accounts in Manafort’s daughters’ names did not match the payment details on that wire, which,
as noted above, read: “SHAREHOLDER FUNDS FOR EXISTING PROJECT WORK.” In my
training and experience, the use of false wire details evidences an intent to conceal the nature,
origin, or other facts about a transaction

57. Bank records show that on or about July 18, 2014, securities and/or cash valued at
$4',297,812.67 were transferred from - Manafort’s _Account to an account at
- with account number -, for which - Manafort was the stated owner -
_). Bank records show no significant deposits into - Manafort’s-

- Account between the time of the $3,000,000 deposit from Jesand and the transfer of
approximately $4,297,812.67 in assets t- -

58. - initiated the process of exiting its relationship with Manafort and his family
members, including - Manafort, in or around the summer of 2017. According to

documentation obtained from - on or about October 4, 2017, approximately $3,755,892.64

_Zg_

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 30 of 37

was transferred from UBS Account-ea newly opened account at - held in the

name Of_ - an<_ -, with … number
- (1`. e. , the Target - Account). Bank records for _ show no

significant deposits between the receipt of the approximately $4,297,812.67 described above and
the transfer of approximately $3,755,892.64 million to the Target _ Account. Accordingly,
there is probable cause to believe that $3,755,892.64 in the Target - Account is traceable to
property involved in a money laundering conspiracy.

2. The Target -l - Account

59. As set forth below, there is probable cause to believe that funds up to and including
$271,000 in the Target _ Account are traceable to property involved in money
laundering, to wit, a mortgage on real property in the Hamptons, New York that was involved in
the money laundering conspiracy. The property is located at -_ Water Mill, New
York (the Hamptons property?. (Documents often list the address as being located in the adjacent
hamlet of Bridgehampton, rather than Water Mill).

60. Based on bank records, vendor invoices, other documentation, and interviews, l
conclude that between approximately 2008 and 2014, at least 71 wire transfers totaling
approximately $5.3 million were sent from various Cypriot and other overseas entities to S.P. &
C. Home lmprovement, Inc. (S.P. & C.), a home improvement business then based in Quogue,
New York in the Hamptons. Of this amount, approximately $1,015,000 was sent to S.P. &. C
during 2012 and approximately $1,190,000 Was sent during 2013_years during which DMI was
engaged, through - and the-in lobbying efforts in the United States on
behalf of the Party of Regions, the Ukraine government, and President Yanukovych. The

payments to S.P. & C. are summarized below:

-29_

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 31 of 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Transaction Country of Amount of
Originating Account
Date Origination Transaction
6/10/2008 LOAV Advisors Limited Cyprus $107,000
6/25/2008 LOAV Advisors Limited Cyprus $23,500
7/7/2008 LOAV Advisors Limited Cyprus $20,000
/5/2008 Yiakora Ventures Limited Cyprus $59,000
9/2/2008 Yiakora Ventures Limited Cyprus $272,000
10/6/2008 Yiakora Ventures Limited Cyprus $109,000
10/24/2008 Yiakora Ventures Limited Cyprus $107,800
1 l/20/2008 Yiakora Ventures Limited Cyprus $77,400
12/22/2008 Yiakora Ventures Limited Cyprus 3100,000
1/14/2009 Yiakora Ventures Limited Cyprus $9,25 0
1/29/2009 Yiakora Ventures Limited Cyprus $97,670
2/25/2009 Yiakora Ventures Limited Cyprus $108,100
4/16/2009 Yiakora Ventures Limited Cyprus $94,3 94
5/7/2009 Yiakora Ventures Limited Cyprus $54,000
5/12/2009 Yiakora Ventures Limited Cyprus $9,550
6/1/2009 Yiakora Ventures Limited Cyprus $86,650
6/18/2009 Yiakora Ventures Limited Cyprus 834,400
7/31/2009 Yiakora Ventures Limited Cyprus $106,000
8/28/2009 Yiakora Ventures Limited Cyprus $37,000
9/23/2009 Yiakora Ventures Limited Cyprus $203,500
10/26/2009 Yiakora Ventures Limited Cyprus $38,800
11/18/2009 Global Highway Limited Cyprus $130,906
3/8/2010 Global Highway Limited Cyprus $124,000
5/11/2010 Global Highway Limited Cyprus $25,000
7/8/2010 Global Highway Limited Cyprus $28,000
7/23/2010 Leviathan Advisors Limited Cyprus $26,500
8/12/2010 Leviathan Advisors Limited Cyprus 8138,900
9/2/2010 Yiakora Ventures Limited Cyprus $31,500
10/6/2010 Global Highway Limited Cyprus $67,600
10/14/2010 Yiakora Ventures Limited Cyprus $107,600
10/18/2010 Leviathan Advisors Limited Cyprus $31,500
12/16/2010 Global Highway Limited Cyprus $46,160
2/7/2011 Global Highway Limited Cyprus $36,500
3/22/2011 Leviathan Advisors Limited Cyprus $26,800
4/4/2011 Leviathan Advisors Limited Cyprus $195,000
5/3/2011 Global Highway Limited Cyprus $95,000

 

 

-30-

 

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 32 of 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Transaction Country of Amount of
Originating Account
Date Origination Transaction
5/16/2011 Leviathan Advisors Limited Cyprus $6,500
5/31/2011 Leviathan Advisors Limited Cyprus $70,000
6/27/2011 Leviathan Advisors Limited Cyprus $39,900
7/27/201 l Leviathan Advisors Limited Cyprus $95,000
10/24/2011 Global Highway Limited Cyprus $22,000
10/25/2011 Global Highway Limited Cyprus $9,300
1 1/15/2011 Global Highway Limited Cyprus $74,000
l 1/23/2011 Global Highway Limited Cyprus $22,300
l 1/29/2011 Global Highway Limited Cyprus $6,100
12/12/201 1 Leviathan Advisors Limited Cyprus $17,800
1/17/2012 Global Highway Limited Cyprus $29,800
1/20/2012 Global Highway Limited Cyprus $42,600
2/9/2012 Global Highway Limited Cyprus $22,300
2/23/2012 Global Highway Limited Cyprus $75,000
2/28/2012 Global Highway Limited Cyprus $22,3 00
3/28/2012 Peranova Holdings Limited Cyprus $37,500
4/18/2012 Lucicle Consultants Limited Cyprus $50,000
5/15/2012 Lucicle Consultants Limited Cyprus $79,000
6/5/2012 Lucicle Consultants Limited Cyprus $45,000
6/19/2012 Lucicle Consultants Limited Cyprus $11,860
7/9/2012 Lucicle Consultants Limited Cyprus $10,800
7/18/2012 Lucicle Consultants Limited Cyprus $88,000
8/7/2012 Lucicle Consultants Limited Cyprus $48,800
9/27/2012 Lucicle Consultants Limited Cyprus $ 100,000
ll/20/20l2 Lucicle Consultants Limited Cyprus $298,000
12/20/2012 Lucicle Consultants Limited Cyprus $55,000
1/29/2013 Lucicle Consultants Limited Cyprus $149,000
3/12/2013 Lucicle Consultants Limited Cyprus $3 75 ,000
8/29/2013 Global Endeavour lnc. Grenadines $200,000
11/13/2013 Global Endeavour Inc. Grenadines $75,000
11/26/2013 Global Endeavour Inc. Grenadines $80,000
12/6/2013 Global Endeavour Inc. Grenadines $130,000
12/12/2013 Global Endeavour Inc. Grenadines $90,000
4/22/2014 Unknown Grenadines $56,293
8/18/2014 Global Endeavour Inc. Grenadines $34,660
Total $5,434,793

 

-31-

 

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 33 of 37

61. The person who owned S.P. & C. during the relevant time period told the FBI that
the majority of payments he received from Manafort were for work related to the Hamptons
property.9 This work included significant remodeling of the Hamptons property. He further
indicated that his bank account was frozen as a result of the bank’s concerns about his receipt of
incoming foreign Wires from Manafort, Copies of invoices and bank statements obtained from
S.P. & C. confirm that the funds from Cypriot and other overseas accounts Were sent to S.P. & C.
in payment for its services. For example, an invoice shows that Manafort was billed $298,000 as
a “[d]eposit” on a pool house for the Hamptons property, That invoice is stamped “PAID” on
November 20, 2012. Bank records show that Lucicle Consultants wired $298,000 from its account
at Cyprus Popular Bank to S.P. & C. on or about November 20, 2012.

62. A review of Manafort’s tax returns shows that, at a minimum, Manafort failed to
report these payments to the IRS from in or about 2010 through 2014.

63. Afier spending millions of dollars on improvements to the Hamptons property
using money from Cypriot and other overseas accounts, Manafort sought and obtained a $3.5
million mortgage on the property from Spruce Capital in or about August 2016. This mortgage on
the Hamptons property allowed Manafort to obtain cash against the millions of dollars in payments
that he invested in the property, Based on my training and experience, 1 know that investing in
real estate and then obtaining mortgages on that property is one way of obscuring the source and

nature of funds.

 

9 Some payments were related to work performed for Manafort on other properties For example,
the Wire payment of $375,000 sent to S.P. & C. in March 2013 was for the construction of another
house in the Hamptons, which, according to the owner of S.P. & C, was built at Manafort’s
direction on land held in the names of Manafort’s in-laws.

-32-

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 34 of 37

64. According to documents furnished by Spruce Capital, the mortgage that Manafort
obtained on the Hamptons property yielded $3,264,536.04 in cash proceeds, which were paid to
Manafort’s UBS account number - on or about August 29, 2016. There is probable cause
to believe that a portion of these funds, totaling $271,000, was ultimately transferred into the
Target- - Account, based on the following: (a) on or about September 12, 2016, Manafort
wired approximately $500,000 from UBS account-o an account at- - held in
Kathleen Manafort’s narne, with an account number ending (b) approximately one day later,

on or about September 13, 2016, approximately $271,000 was transferred from Kathleen

Manafort’s_- account to another of her accounts at the same bank with account

number _ (that is, the “Target - - Account”).

65. Kathleen Manafort is identified as a housewife on her and Manafort’s joint tax

returns. Ayliff has stated that Kathleen Manafort did not have any income-generating work.
3. The Target TFSB Account

66. As set forth below, there is probable cause to believe that funds up to $1,100,637
in the Target TFSB Account are also funds traceable to the Hamptons property, which was
involved ina money laundering conspiracy.

67. Between approximately 2008 and 2014, at least 68 wire transfers totaling
approximately $5,000,000 were sent from various Cypriot and Saint Vincentian entities to S.P. &
C. for remodeling and other work related to the Hamptons property. Some of these payments came
from entities that Manafort identified to the FBI as having been used to receive payments for his
services to the Party of Regions. By causing these payments to be sent directly to S.P. & C from

undeclared overseas accounts, Manafort was able to hide these payments from his bookkeepers,

_33_

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 35 of 37

tax accountants and the United States government, thereby allowing him to avoid paying taxes on
the funds

68. In approximately November 2016, Paul and Kathleen Manafort (through a holding
company called Summerbreeze LLC) secured a mortgage loan from TFSB in the amount of $9.5
million (the TFSB loan). The Manaforts used the remodeled Hamptons property, with a stated
appraised value of $13,500,000, as collateral to obtain this loan. (This loan is in addition to the
Spruce Capital loan described above). The TFSB loan was also secured by a Manafort residence
in Alexandria, Virginia (With a stated appraised value of $2,700,000), and a checking account at
TSFB With account number ending -- (which was required to maintain a balance of at least
$630,000). As with the Spruce Capital loan, the TFSB loan allowed Manafort to draw cash out of
the Hamptons property, into which he had invested millions of dollars in undeclared payments
from overseas

69. On or about November 23, 2016,` approximater $5,016,636.10 in loan proceeds
traceable to the Hamptons property was deposited into Manafort’s bank account at TFSB ending
With account number ~- (the TSFB Manafort account). The description of the deposit on the
bank statement matches the loan number for the TFSB loan, On or about December 7, 2016,
Manafort transferred $5,000,000 from the TFSB Manafort account to the Target TFSB Account.
As of approximately September 7, 2017, bank records show the net value of the Target TFSB

Account was $1,100,637.

***

70. For the foregoing reasons, I respectfully submit that there is probable cause to

believe that the Target Assets are subject to forfeiture, because they are traceable to proceeds of

-34-

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 36 of 37

specified unlawful activity and are traceable to property involved in a money laundering
conspiracy.

71 . Further, I respectfully submit that a restraining order pursuant to 21 U.S.C. § 853(e)
Will not be sufficient to preserve the Target Assets for forfeiture, given the ease with which funds
may be moved via wire transfer, electronic funds transfer, or otherwise Based on my training and
experience, l know that restraining orders served on banks sometimes fail to preserve the property
for forfeiture because, among other reasons, the bank representative receiving the restraining order
fails to put the necessary safeguards in place to freeze the money in time to prevent the account
holder from accessing the funds electronically; the bank representative fails to notify the proper
personnel as to the existence of the order; or the bank exercises a right of setoff to satisfy an
outstanding debt owed to the bank by the account holder.10

72. The evidence relating to Manafort’s frequent movement of funds between various
accounts and his concealment of financial information from his bookkeepers, tax preparers, and
United States authorities further demonstrates that a seizure warrant is reasonably necessary to
ensure that neither Manafort nor his family members are able to transfer, repatriate, or otherwise
dissipate or conceal the Target Assets As described above, Manafort has frequently transferred
funds between numerous domestic and foreign accounts held in various names Moreover, the

funds in the Target-1 Account were moved in a single wire transfer within the last month.ll

 

10 Upon execution of the seizure warrants law enforcement will adhere to the following protocols,
which I understand are consistent With the FBI’s handling of funds seized pre-conviction: upon
receipt of the fiinds from the financial institution, law enforcement Will deliver the funds to the
U.S. Marshals Service (“USMS”), which will take receipt of the funds The money will then be
held in escrow in the Seized Assets Deposit Fund until a subsequent judicial order. This protocol
will ensure the funds’ continued availability until their ultimate disposition is detennined.

11

 

_35_

Case 1:17-cr-00201-AB.] Document 378-3 Filed 08/22/18 Page 37 of 37

Additionally, the evidence indicates that Manafort deliberately concealed information about his
finances, including the existence of foreign accounts, from his bookkeepers, tax preparers, and
U.S. authorities As noted above, this concealment persisted until at least June 2017. Manafort’s
demonstrated history of maintaining secret foreign accounts raises a risk that, in the absence of a
seizure warrant, the Target Assets may be transferred overseas A seizure warrant is thus
reasonably necessary to ensure that the property remains available for forfeiture, See 21 U.S.C.
§ 853(f) (authorizing criminal seizure warrants where, among other requirements, a court
determines that a protective order under section 853(€) “may not be sufficient to assure the
availability of the property for forfeiture”).

73. Given the confidential and highly sensitive nature of this ongoing criminal
investigation, I further request that this affidavit and associated papers be sealed until further order

of the Court.

Resp'ectfully submitted,

    

Special Agent
Federal Bureau of Investigation

Sworn to before me on
October ¢877~ , 2017

/

/ / /'/f ,/"_ ,_,;//,-.»
. /~),../
y

/¢-r///, _, /,» '¢;./
THE HONORABLE BERYL A. HOWELL
CHlEF UNITED STATES DISTRICT JUDGE

_36_

